Case 18-11330-Ll\/|| Doc 23 Filed 02/20/18 Page 1 of 8

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N Compass Rea| Estat

‘W fE We’|| point you in the right dire tion!
1940 Duke Street Suite 200 - A|exandria, V 22314
5 z- (703) 310-7880

 

Robert Lepel|etier, Jr. - Broker( A & MD)

Monique Lepel|etier - Agent( A On|y)

Bob@CompassRea|E tate.pro

February 12, 2018

 

Marie Anne Dicowden, Ph.D.

3610 Yacht club or 1108 .( F`f'€l?'? ‘1
Aventura, FL 33180-3546 .~ j
email: mdgatl;zihl@agl.ggm . 1 z@

Michael A. Frank

Law Offices of Brooks Frank & De La Guardia
10 NW Le Jeune Road - Suite 620

Miami, FL 33126

z (305) 443-42!17 Email: Pleaging§@bkg|awmiami.ch

RE: Client's Letter of intent to purchase Debtor Marie Anne Dicowden's
Total interest in SKEP, LLC - An administratively revoked entity
In Re: Marie Anne Dicowden Southern District of F|orida,
Case number 18-11330-LMI

 

Dear Ms. Dicowden & Mr. Frank:

On behalf of my client Joseph Gal, I am forwarding his intent/offer to
purchase the Debtor’s SKEP, LLC with the purpose of acquiring its 123 Wo|fe
Street, A|exandria, VA real property free and clear of liens and with the
existing tenant along with the intent to transfer the property to a Virginia
LLC with marketable and insured title

 

If agreed,l then Mr. Gal will place the sum of $440,000 in escrow with
Virginia attorney Mark Albanese, Albanese & Associates, P. C., 4041
University Drive, #301, Fairfax, VA 22030 T) 703-385-8880 F) 703
385-1005. Mr. Albanese will disburse the monies as follows:

 

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SKEP LLC Letter:
Page Two - Februa;y 12l 2018

A). To pay-off both the first and second trusts on the property. The

manager/owner agrees to provide Mr. Albanese with a Third-Party

Authorization to obtain the pay-off information. Any other recorded liens will

be paid.

B). To pay a F|orida law firm to bring SKEP to good standing and
transfer its total interests to Joseph Gal of Falls Church, Virginia. The

tO

Virginia parties do not oppose Mr. Frank's law firm handling this transaction.

C). If deemed necessary by Attorney Albanese and/or his title in

surer,

to have SKEP L.LC qualify to transact business to a Commonwealth of Virginia

entity. N.B. Virginia Code §13.1-1007. Unlawful to transact or offer to

transact business as a limited liability company unless authorized.

D). This offer is contingent upon both Mr. Gal's & attorney Abanese's
satisfactory review of the existing lease. While this transaction is in p'ogress
the manager/owner agrees not to change, modify, extend, etc. the lease

without the written permission of these parties. After the LLC is sold,

then

the manager/owner agrees to transfer the security deposit, if any, to Mr.

Gal.
E). If it is deemed necessary by attorney Mark Albanese to revie

income tax records previously filed on behalf of SKEP LLC. Attorney

Albanese may reject the transfer if deemed necessary for any reason.

F). Remaining monies will be remitted as instructed to Mr. Frank
Chapter 13 trus;tee.

Please let me know if the foregoing is acceptab|e.

Sincerely yours,

r.
Virginia Real Estate Broker

 

Enclosures (SKEP LLC docs)

cc: Chapter 13 trustee - nancy@ch13herkert.ch
Lender's Bagu(ptcy attorney - cdelisser@ml@efaultlaw.com

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Dlll NO..‘ l2542500

Gr\n\ee's Mdreu'.

QEEEQEBARQMN_ANQSALE

3610 ‘lacht Club Drive. #1108

Grant:ee's Address:
Aventura, FL 33180

THIS DEED, made this § day of June, 2013 by a.nd between MARIE MMDEN,

unmarried Grantor, and SKER,_LLQ, a Florida limited liability company, Grantee;

WlTNESSETi-i:

'I`hat, for and in consideration of the sum of Ten Dollars ($i0.00), cash in hand paid by
Grantee and other good and valuable consideration, the receipt whereof is hereby acknowledged
Grantor do hereby grant, bargain, sell and convey, with Generai Wammty of Title, to Gtantee, all
of that certain land situated in the City of Alexandria, Virginia, and more particularly described as

follows:

 

 

 

 

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00068].

Beginning on the Northside of Wolfe Street, 75 feet, East of Water
Street, and running Thence Eastwardly with Wo|fe Street 25 feet to
a six foot alley; Thence Northwardly parallel with Water Street 50
feet; Thence Westwardly parallel with Wolfe Street 25 feet; Thence
Sr)uthwardly 50 feet to the beginning, being the same property as
described in Deed recorded in Deed Book 226, at Page 98, among the
land records of the City of Alexandria, Virginia, and the said property
being known and numbered as 123 Wo|fe;

Lr:ss and Except a portion of said property described as; Beginning at
the northwesterly corner of the property located at #123 Wolfe Street
common to the property located at #125 Wo|fe Street, point of
beginning being 75,00 feet east of the easterly right~of-way line of
South Lee Street and 50 feet north of the northerly right-of-way line
of Wolfe Strect; thence running S 81 degrees 09' 00" E. 25.00 feet to
a point in the westerly line of a 6 foot alley; thence running with the
westerly line of said 6 foot alley S. 09 degrees 30' 00" W 2.30 feet to
the north side of a block retaining wall; thence departing the westerly
line of said 6 foot alley and running along the north side of said block
retaining wall and through the property located at #123 Wolfe Street
N 32 degrees 45'12" W 25.02 feet to a point in the line ofthe property
located at #125 Wolfe Sb'eet; thence running with a line common to
the property located #125 Wolfe Street N 09 degrees 30'00" E 3.00
feet to the point of beginning containing 66.2 square feet.

AND BEING the same property acquired by Grantor by deed
recorded immediately prior hereto.

This conveyance is made subject to any easements, reservations, restrictive covenants,
(excepting any restrictive covenant that discriminates on the basis of race, colorl sex, religion,
ancestry, national origin, familial status, age, sexual orientation or disability) or rights of way of

record.

 

 

 

 

000682
Grantor covenants that Grantors has the right to convey the said land to the said Grantee, that
there are no encumbrances against the said property; that Grantee shall have quiet and peaceable
possession of said land, free from claim of all persons whosoever; and the Grantor will execute such
further assurances of title as may be requisite and necessary.
WITNESS the following signature and seals
ma sa '
MAR[E DICOWD

sTATE or= 1 Z ;
CnY/coUNTv 01= 01 Ae ‘ , to-wit;

l, the undersigned Notary Public, in and for the City and State aforesaid, do hereby certify
that, 'MARIE DICOWDEN, whose name is signed to the foregoing Deed dated June ¢2, 2013,
has acknowledged the same before me.

Given under my hand and seal this _Ld)_ day of June, 2013.

My Commission expires:
Registration No.:.

e: \q§°\deu\dlldl\d!.ce\ldcno¢n!\!

 
 
  
 

  

;-__ LAUR|E soIIMERs
- MY commission 1

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RECORDED BY! AN)

 

 

 

 

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Detai| by Entity Name
F|orida Limited Liability Company
SKEP, LLC

Filing information
Document Numberl_12000029265 FEl/ElN Number45-4743232 Date Filed02l29/2012 StateFL

Status lNACT|VE l-ast Event ADMlN DlSSOLUT|ON FOR ANNUAL REPORT Event Date
Filed09/22/2017 Event Effective Date NONE

Principal Addres_s_

3610 YACHT CLUB DR|VE, UNlT 1108

MlAMl, FL 33180

Mai|ing Addressi_

3610 YACHT CLUE! DR|VE, UNlT 1108

MlAMl, FL 33180

_Rggistered_égent Name & Address Geller, Joseph
100 WEST CYPRESS CREEK ROAD, SU|TE 700

FT. LAUDERDALE, FL 33309

 

Name Changed: 08/16/2015
Authorized Person(s) Detai| Name & Address

Tit|e MGR
DlCOWDEN, MARllE

3610 YACHT CLUB- DR|VE, UNlT 1108
M|AM|, FL 33180

Annual Reports

Report Year Filed Date
2014 04/24/2014
2015 08/16/2015
2016 04/30/2016

Document |mage_s_
04/30/2016 -- ANNuAL REPORT Wiew image in PDF formaij

08/16/2015 -- ANNUAL REPORT L\/iew image in PDF formati
04/24/2014 -- ANNuAL REPORT Niew image in PDF formai|
04/23/2013 -- ANNu/\L REPORT [view image in PDF rormail
02/29/2012 -- Fiorida Limited Liabiiiiniew image in PDF formai]

 

 

 

 

 

 

 

 

 

 

 

 

 

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAlVII DIVISION

CASE NO.: 18-113.30-BKC-LMI
PROCEEDING UNDER CHAPTER 13

 

IN RE:

MARIE ANNE DICOWDEN

DEBTOR /

 

TRUSTEE'S CERTIFICATE OF SERVICE
OF TRUSTEE'S NOTICE OF REQUIRED DOCUMENTS

Nancy K. Neidich, Esquire, Chapter 13 Trustee, served the

 

1. Trustee's Notice of Reguired Documents,

2. Debtor's Checklisit for 341 Meeting of Creditors,

3. Chapter 13 Meeting of Creditors Preparation Sheet,

 

4. Chapter 13 Confi.rmation Preparation Sheet,

5. National Data Ce:nter brochure

 

 

was served through NEF on the Debtor's attorney and by US Mail on the Debtor at the address below on
the business day after this document was filed with the Court.

Submitted by
NANCY K. NEIDICH, ESQUIRE
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806

MIRAMAR, FL 33027-9806

 

 

 

 

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Case 18-11330-LM| Doc 14 Filed 02/07/18 Page 1 of 2

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

In re: Case_No._]_S;llBI);LMI

Chapter 13
MARIE ANNE DICOWDEN
aka Marie A Dicl<; aka Marie A DiCowden,

Debtor.
/

§OTICE OF APPEARANCE AND REQUEST FOR NOTICE
(Property Address: 123 Wolfe St, Alexandria, VA 22314)

PLEASE TAKE NOTICE that the undersigned attorney hereby appears as counsel for

Bank of America., N.A. (“Secured Creditor”) in the above-captioned case, and requests
notices required to be given in this case and all papers required to be served in this case 1
to Federal Rule of Bankruptcy Procedure 2002 be served upon the undersigned. and
undersigned be added to the Court’s Master Majling List.

MARINOSCI LAW GROUP, P.C.
Attorney for Secured Creditor

100 West Cypress Creek Road, Suite 10
Fort Lauderdale, FL 33309

Phone: (954) 644-8704

Fax: (954) 772-9601

Emajl: cdelisser@mlg-defaultlaw.com

/s/ Connie J. Delisser

Connie J. Delisser, Esq.
Florida Bar No. 293740

MLG Filc No.: 18-01871 l of 2

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